Case 2:11-cr-20481-AJT-MKM ECF No. 330, PageID.4357 Filed 11/02/20 Page 1 of 12




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

     UNITED STATES OF AMERICA,
                                                     Criminal Case No. 11-20481
                Plaintiff,
                                                     SENIOR U.S. DISTRICT JUDGE
                    v.                               ARTHUR J. TARNOW

     DESMOND REGINAL RODGERS,

               Defendant.
                                       /


 OPINION AND ORDER GRANTING DESMOND REGINALD RODGERS’S MOTION FOR
     COMPASSIONATE RELEASE [322] AND DENYING AS MOOT RODGERS’S
                SUPPLEMENTAL MOTION TO VACATE [320]

       On March 21, 2012, defendant-petitioner, Desmond Reginal Rodgers, pleaded

 guilty to bank robbery, in violation of 18 U.S.C. § 2113; using or carrying a firearm

 during a federal crime of violence, in violation of 18 U.S.C. § 924(c); and pharmacy

 robbery, in violation of 18 U.S.C. § 2118. (ECF No. 121, PageID.409). The Court

 sentenced Rodgers to 200 months in prison on September 6, 2012. (ECF No. 126,

 PageID.457). On June 30, 2020, the Court appointed the Federal Community Defender

 to assist Rodgers with an unspecified petition under the First Step Act. (ECF No. 295).

 Following a status conference on September 28, 2020, Rodgers filed a Motion for

 Compassionate Release. (ECF No. 322). The Court heard arguments on the Motion

 [322] on October 30, 2020.




                                           1 of 12
Case 2:11-cr-20481-AJT-MKM ECF No. 330, PageID.4358 Filed 11/02/20 Page 2 of 12




       For the reasons stated on the record and below, Rodgers’s Motion [322] is

 GRANTED, and his sentence is reduced to time served.

                                         BACKGROUND

       Rodgers was born in Southfield, Michigan in 1972. (PSR ¶ 56). He was primarily

 raised by his mother, though her addiction often kept her away for significant periods

 of time. (Id.). In December 2018, Rodgers’s wife of sixteen years passed away, leaving

 her and Rodgers’s two young children to be raised by Rodgers’s stepson. (ECF No. 322,

 PageID.4151). They currently reside in Redford. (PSR ¶ 60). Rodgers also has an adult

 child from a prior relationship; she lives in Detroit. (PSR ¶ 59).

       Rodgers, who has struggled with substance abuse for much of his life, did not

 complete High School and has been entangled in the criminal legal system since he was

 fifteen. (PSR ¶¶ 58, 68, 70). Other than the instant offense, however, the entirety of

 Rodgers’s criminal record is more than two decades old and stems from crimes

 committed by Rodgers in his early- to mid-twenties. (PSR ¶¶ 45-48).

       Rodgers was arrested following his participation as a lookout and getaway driver

 in two robberies: a bank robbery on May 18, 2011, and a pharmacy robbery on June 18,

 2011. (PSR ¶¶ 7-11). Firearms were carried during the course of both robberies and the

 losses totaled just over one hundred thousand dollars. (PSR ¶ 17).

       Rodgers is currently forty-seven years old, incarcerated at USP Lee, and

 scheduled for release on January 4, 2026. Find an Inmate, FED. BUREAU PRISONS,




                                          2 of 12
Case 2:11-cr-20481-AJT-MKM ECF No. 330, PageID.4359 Filed 11/02/20 Page 3 of 12




 https://www.bop.gov/mobile/find_inmate/index.jsp (BOP Register No. 46303-039)

 (last visited October 31, 2020).

                                        ANALYSIS

       Section 3582(c)(1) of Title 18 of the U.S. Code, colloquially known as the

 compassionate release statue, provides, in relevant part:

       (A)    [T]he court, upon motion of the Director of the Bureau of Prisons,
              or upon motion of the defendant after the defendant has fully
              exhausted all administrative rights to appeal a failure of the Bureau
              of Prisons to bring a motion on the defendant's behalf or the lapse
              of 30 days from the receipt of such a request by the warden of the
              defendant's facility, whichever is earlier, may reduce the term of
              imprisonment (and may impose a term of probation or supervised
              release with or without conditions that does not exceed the
              unserved portion of the original term of imprisonment), after
              considering the factors set forth in section 3553(a) to the extent that
              they are applicable, if it finds that—
              (i)     extraordinary and compelling reasons warrant such a
                      reduction.
              [. . .]
              and that such a reduction is consistent with applicable policy
              statements issued by the Sentencing Commission . . . .

 18 U.S.C. § 3582(c)(1).

       A. Exhaustion

       Before a petitioner moves for compassionate release under 18 U.S.C. §

 3582(c)(1), they must either exhaust their administrative remedies with the BOP or wait

 thirty days from when they filed a request with their warden. United States v. Alam, 960

 F.3d 831, 832 (6th Cir. 2020). On September 11, 2020, Rodgers submitted an email,

 which the Warden of USP Lee interpreted as a request for compassionate release. (ECF



                                          3 of 12
Case 2:11-cr-20481-AJT-MKM ECF No. 330, PageID.4360 Filed 11/02/20 Page 4 of 12




 No. 323-2, PageID.4165-66; ECF No. 323-3, PageID.4168). The Government concedes

 that Rodgers has exhausted his administrative remedies with respect to his medical

 issues. (ECF No. 325, PageID.4222).

       Accordingly, “[t]he Court now has three questions to answer: first, whether

 extraordinary and compelling reasons warrant a reduction in sentence, second, whether

 [Rodgers] poses a danger to the community, and third, whether a sentence reduction is

 consistent with the § 3553(a) factors.” Crider v. United States, No. 01-81028-1, 2020

 U.S. Dist. LEXIS 133233, at *4 (E.D. Mich. July 28, 2020).

       B. Extraordinary and Compelling Reasons for Release

       In order to ascertain whether there are extraordinary and compelling reasons to

 release Rodgers, the Court must determine if a sentence reduction is “consistent with

 applicable policy statements issued by the Sentencing Commission.” 18 U.S.C. §

 3582(c)(1)(A). The Application Notes to the relevant policy statement provide the

 following:

       1. Extraordinary and Compelling Reasons.—Provided the defendant
       meets the requirements of subdivision (2), extraordinary and compelling
       reasons exist under any of the circumstances set forth below:
          (A) Medical Condition of the Defendant.—
               (i) The defendant is suffering from a terminal illness (i.e., a
                    serious and advanced illness with an end of life trajectory). A
                    specific prognosis of life expectancy (i.e., a probability of
                    death within a specific time period) is not required. Examples
                    include metastatic solid-tumor cancer, amyotrophic lateral
                    sclerosis (ALS), end-stage organ disease, and advanced
                    dementia.
               (ii) The defendant is—
                    (I) suffering from a serious physical or medical


                                         4 of 12
Case 2:11-cr-20481-AJT-MKM ECF No. 330, PageID.4361 Filed 11/02/20 Page 5 of 12




                          condition,
                    (II) suffering from a serious functional or cognitive
                          impairment, or
                    (III) experiencing deteriorating physical or mental health
                          because of the aging process,
                that substantially diminishes the ability of the defendant to
                provide self-care within the environment of a correctional facility
                and from which he or she is not expected to recover.
            [. . .]
            (D) Other Reasons.—As determined by the Director of the Bureau
            of Prisons, there exists in the defendant's case an extraordinary and
            compelling reason other than, or in combination with, the reasons
            described in subdivisions (A) through (C).

 U.S.S.G. 1B1.13. Here, Rodgers has presented “Other Reasons” in combination with

 “Medical Condition[s]” to warrant compassionate release.

         Rodgers suffers from obesity, hypertension, and prediabetes. (ECF No. 323-4,

 PageID.4177-79, 4189). According to the CDC, “[h]aving obesity, defined as a body

 mass index (BMI) between 30 kg/m2 and <40 kg/m2 . . . , increases your risk of severe

 illness from COVID-19.” People with Certain Medical Conditions, CTRS. FOR DISEASE

 CTRL.     &   PREVENTION,      https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

 precautions/people-with-medical-conditions.html [https://perma.cc/HN8S-989E] (last

 updated Oct. 16, 2020). Hypertension is similarly recognized as a risk factor. See id.

 Finally, although prediabetes is not listed as a risk factor by the CDC, diabetes is listed.

 See id. And because it is well established that the risk of severe illness from COVID-

 19 increases when a person has multiple underlying conditions, “[c]ourts have found

 that the combination of prediabetes and obesity [is] sufficient to warrant

 [compassionate] release.” United States v. Andrade, No. 16-20751, 2020 U.S. Dist.


                                           5 of 12
Case 2:11-cr-20481-AJT-MKM ECF No. 330, PageID.4362 Filed 11/02/20 Page 6 of 12




 LEXIS 166463, at *8-9 (E.D. Mich. Sept. 11, 2020) (alteration in original) (quoting

 United States v. Readus, No. 16-20827-1, 2020 U.S. Dist. LEXIS 89351, at *6 (E.D.

 Mich. May 21, 2020)).

       Rodgers’s risk is also exacerbated by the current outbreak of COVID-19 at USP

 Lee, which has ballooned in the three weeks since Rodgers filed his motion. Compare

 (ECF No. 322, PageID.4143) (six positive cases as of October 8), with COVID-19

 Coronavirus,     FED.     BUREAU      PRISONS,     https://www.bop.gov/coronavirus/

 [https://perma.cc/C3YJ-QR8L] (last updated Oct. 30, 2020) [hereinafter COVID-19

 Testing, BOP] (sixty-six positive cases as of October 30). Indeed, the outbreak may be

 even worse than is apparent from these numbers because “USP Lee [continues to]

 seriously undertest[] its inmates.” United States v. Bell, No. 04-cr-20033, 2020 U.S.

 Dist. LEXIS 145746, at *6 (C.D. Ill. Aug. 13, 2020); see COVID-19 Testing, BOP

 (showing that fewer than half of inmates at USP Lee have been tested as of October

 30). Accordingly, the Court finds that there are extraordinary and compelling reasons

 for Rodgers’s release.

 Dangerousness

       Federal Sentencing Guideline 1B1.13 provides for compassionate release only

 when “[t]he defendant is not a danger to the safety of any other person or to the

 community, as provided in 18 U.S.C. § 3142(g).” In arguing that Rodgers continues to

 be dangerous, the Government relies primarily upon Rodgers’s criminal history, his




                                        6 of 12
Case 2:11-cr-20481-AJT-MKM ECF No. 330, PageID.4363 Filed 11/02/20 Page 7 of 12




 high-risk PATTERN score, and his participation in fight in 2013. (ECF No. 325,

 PageID.4232-33, 4238). The Court will examine each of these in turn.

        Rodgers’s criminal history is indeed concerning, specifically his failure to abide

 by conditions of parole in the past. The Court is cognizant, however, that, with the

 exception of the instant offense, the entirety of Rodgers’s criminal history, including

 his parole violations, is from his early- to mid-twenties. (PSR ¶¶ 45-48). Today, he is

 only a few years shy of fifty, and statistically less likely to reoffend than he was as a

 younger man, especially if under the care of the U.S. Probation Department. (ECF No.

 323-5, PageID.4198); see generally U.S. SENT’G COMMISSION, THE EFFECTS OF AGING

 ON         RECIDIVISM           AMONG            FEDERAL            OFFENDERS            (2017),

 https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-

 publications/2017/20171207_Recidivism-Age.pdf               [https://perma.cc/M39D-YQAN].

 Moreover, since entering custody nearly a decade ago, Rodgers has completed the

 BOP’s Challenge Program, the Drug Education Program, a violence-prevention

 program, and several educational programs, including earning his GED. (ECF No. 323-

 5, PageID.4198). He has also received good employment evaluations, even working his

 way to a leadership role in his kitchen job at USP Lee.1 (Id.). These efforts, particularly

 his completion of the nine-month Challenge Program, which, “[i]n addition to treating

 substance use disorders and mental illnesses, . . . addresses criminality, via cognitive-


 1
   The fact that Rodgers is no longer working in the kitchen, apparently due to a dispute regarding
 his paltry BOP wages, does not alter the Court’s approval of his overall positive employment
 record. See (ECF No. 322, PageID.4146).

                                             7 of 12
Case 2:11-cr-20481-AJT-MKM ECF No. 330, PageID.4364 Filed 11/02/20 Page 8 of 12




 behavioral challenges to criminal thinking errors,” are persuasive evidence of

 rehabilitation. FED. BUREAU PRISONS, DIRECTORY OF NATIONAL PROGRAMS 10

 (2017),

 https://www.bop.gov/inmates/custody_and_care/docs/20170518_BOPNationalProgra

 mCatalog.pdf [https://perma.cc/XG2N-BAMU].

       Additionally, while the Government is correct that the BOP has rated Rodgers a

 “high risk” of recidivism using its PATTERN tool, this assessment is hardly infallible.

 Indeed, several experts on risk assessment instruments have cautioned that “a number

 of key assumptions and policy choices made in the design of [the PATTERN] tool [are]

 not verifiable or inadequately supported.” Brandon L. Garrett & Megan Stevenson,

 Open Risk Assessment, 38 BEHAV. SCIS. & L. 279, 280 (2020); see also P’SHIP ON AI,

 ALGORITHMIC RISK ASSESSMENT AND COVID-19: WHY PATTERN SHOULD NOT BE

 USED 2 (2020), https://www.partnershiponai.org/wp-content/uploads/2020/04/Why-

 PATTERN-Should-Not-Be-Used.pdf [https://perma.cc/2LNP-QXM9] (explaining that

 “PATTERN was not developed with the intent of informing anything akin to COVID-

 era decisions, nor was it validated on data that reflects the present social and economic

 landscape”). Indeed, “due to both demographic differences between the Black and

 White federal inmate populations and racial bias in the data used to develop, validate,

 and score the tool, the . . . use of PATTERN is likely to contribute to significant

 unjustified racial disparities.” Id. Accordingly, and particularly in light of Rodgers’s




                                         8 of 12
Case 2:11-cr-20481-AJT-MKM ECF No. 330, PageID.4365 Filed 11/02/20 Page 9 of 12




 sparse disciplinary record, consisting solely of an incident in mid-2013, the Court finds

 that he will not pose a danger upon release (ECF No. 323-6, PageID.4203).

       Section 3553(a) Factors

       The last step a District Court contemplating a motion for compassionate release

 must take is to consider the sentencing factors provided by 18 U.S.C. § 3553(a).

 Those are as follows:

        (a) Factors to be considered in imposing a sentence. The court shall
            impose a sentence sufficient, but not greater than necessary, to comply
            with the purposes set forth in paragraph (2) of this subsection. The
            court, in determining the particular sentence to be imposed, shall
            consider—
            (1) the nature and circumstances of the offense and the history and
                 characteristics of the defendant;
            (2) the need for the sentence imposed—
                 (A) to reflect the seriousness of the offense, to promote respect
                         for the law, and to provide just punishment for the offense;
                 (B) to afford adequate deterrence to criminal conduct;
                 (C) to protect the public from further crimes of the defendant;
                         and
                 (D) to provide the defendant with needed educational or
                         vocational training, medical care, or other correctional
                         treatment in the most effective manner;
            (3) the kinds of sentences available;
            (4) the kinds of sentence and the sentencing range established for—
      `          (A) the applicable category of offense committed by the
                         applicable category of defendant as set forth in the
                         guidelines—
                 [. . .]
            (5) any pertinent policy statement—
                 [. . .]
            (6) the need to avoid unwarranted sentence disparities among
                 defendants with similar records who have been found guilty of
                 similar conduct; and
            (7) the need to provide restitution to any victims of the offense.



                                          9 of 12
Case 2:11-cr-20481-AJT-MKM ECF No. 330, PageID.4366 Filed 11/02/20 Page 10 of 12




 18 U.S.C. § 3553(a)

       The Court’s consideration of these factors is demonstrated both in this opinion’s

 analysis of U.S.S.G. 1B1.13 and on the record of the October 30, 2020 hearing.

        Rodgers’s criminal record and the nature and circumstances of his offense made

 it clear to the Court that he was dangerous at the time of sentencing. Nearly a decade of

 incarceration, however, has given him substantial opportunity to rehabilitate. Rodgers’s

 accomplishments while incarcerated, combined with his clean disciplinary record for

 the past seven years, demonstrate to the Court that he has taken that opportunity

 seriously, that his sentence has promoted his respect for the law, and that he has been

 sufficiently deterred from future criminal activity. Additionally, the Court finds that, to

 the extent that Rodgers’s sentence had a deterrent effect on others, that effect was felt

 at the time Rodgers was apprehended and will not be impacted by modification of his

 sentence.

       Finally, the Court also considers, to a lesser extent, the fact that certain

 circumstances have changed since Rodgers was first incarcerated. First, one of

 Rodgers’s co-defendants, Raynard Crowe, who played a more substantial role than

 Rodgers in the robberies, was resentenced in 2019 by this Court to 132 months. (ECF

 No. 288, PageID.3151; PSR ¶¶ 7-11, 16). While Crowe’s prior sentence of 535 months

 was originally much longer than Rodgers’s sentence of 200 months—reflecting, among

 other things, the fact that Crowe’s conduct was more serious—it is now substantially

 shorter, suggesting at least some disparity in Rodgers’s current sentence. See United


                                         10 of 12
Case 2:11-cr-20481-AJT-MKM ECF No. 330, PageID.4367 Filed 11/02/20 Page 11 of 12




 States v. Simmons, 501 F.3d 620, 624 (6th Cir. 2007) (“[A]lthough § 3553(a) does not

 require district courts to consider sentencing disparities among co-defendants, it does

 not prohibit them from doing so.” (alteration in original) (quoting United States v.

 Parker, 462 F.3d 273, 277 (3d Cir. 2006))). Second, Rodgers’s wife passed away in

 2018, leaving his twins to be raised by his stepson. (ECF No. 322, PageID.4151).

 Though the Court does not consider whether this constitutes an extraordinary and

 compelling family circumstance under the Application Notes to U.S.S.G. 1B1.13, the

 Court does take it into account in its consideration of Rodgers’s history and

 characteristics under 18 U.S.C. § 3553(a)(1).

       In light of the above considerations, the Court finds that a sentence reduction to

 time served is consistent with the § 3553(a) factors.

                                      CONCLUSION

       IT IS ORDERED that Rodgers’s Motion for Compassionate Release [322] is

 GRANTED and that his sentence is reduced to time served.

       IT IS FURTHER ORDERED that Rodgers’s Supplemental Motion to Vacate

 [320] is DENIED as MOOT.

       IT IS FURTHER ORDERED that Rodgers be IMMEDIATELY

 RELEASED to begin his three-year term of SUPERVISED RELEASE, as outlined

 by the September 6, 2012 Judgment (ECF No. 126, PageID.458), including the

 following Special Conditions:




                                         11 of 12
Case 2:11-cr-20481-AJT-MKM ECF No. 330, PageID.4368 Filed 11/02/20 Page 12 of 12




       The defendant shall undergo a strict fourteen-day quarantine upon
       his release and shall fully comply with any applicable state or local
       stay-at-home orders, social distancing guidelines, or other public
       health restrictions.

       If deemed necessary by the Probation Department, the defendant
       shall participate in a mental health treatment program and follow the
       rules and regulations of that program. The probation officer, in
       consultation with the treatment provider, will supervise the
       defendant’s participation in that program (provider, location,
       modality, duration, intensity, etc.).

       If deemed necessary by the Probation Department, the defendant
       shall participate in an anger management program and follow the
       rules and regulations of that program. The probation officer, in
       consultation with the treatment provider, will supervise the
       defendant’s participation in that program (provider, location,
       modality, duration, intensity, etc.).

       SO ORDERED.


                                      s/Arthur J. Tarnow
                                      Arthur J. Tarnow
 Dated: November 2, 2020              Senior United States District Judge




                                     12 of 12
